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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6                                      SAN FRANCISCO DIVISION

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                                         IN RE: SOCIAL MEDIA ADOLESCENT                       Case No. 22-md-03047-YGR (PHK)
                                   9     ADDICTION/PERSONAL INJURY
                                         PRODUCTS LIABILITY LITIGATION                        DISCOVERY MANAGEMENT ORDER
                                  10                                                          NO. 11 FOLLOWING DISCOVERY
                                         ____________________________________                 MANAGEMENT CONFERENCE OF
                                  11                                                          OCTOBER 24, 2024
                                         This Document Relates to:
                                  12     All Actions                                          Upcoming DMC Dates:
Northern District of California




                                                                                              November 21, 2024 at 1:00 pm
 United States District Court




                                  13                                                          December 11, 2024 at 1:00 pm
                                                                                              January 16, 2025 at 1:00 pm
                                  14

                                  15           On October 24, 2024, this Court held a Discovery Management Conference (“DMC”) in

                                  16   the above-captioned matter regarding the status of discovery. See Dkt. 1273. This Order

                                  17   memorializes and provides further guidance to the Parties, consistent with the Court’s directions

                                  18   on the record at the October 24th DMC, regarding the deadlines and directives issued by the Court

                                  19   during that hearing (all of which are incorporated herein by reference).

                                  20      I.      Meta Hyperlinked Documents

                                  21           Plaintiffs seek guidance from the Court regarding Meta’s production of hyperlinked

                                  22   documents (i.e., documents which correspond to hyperlinks embedded or found in another

                                  23   document), particularly relating to depositions set to take place within the next thirty days.

                                  24   Plaintiffs acknowledge that they did not identify this issue as a ripe dispute in their briefing but

                                  25   argue that it is time-sensitive and urgent because of the upcoming depositions. Plaintiffs state that

                                  26   there have been recent depositions where all hyperlinked documents had not yet been produced

                                  27   (including one deposition where Meta objected to questions on the basis that the document at issue

                                  28   was not authenticated because it was “incomplete”) and they raise concerns about having to recall
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                                   1   future deponents due to missing hyperlinked documents. Plaintiffs complain that Meta has not

                                   2   been receptive to their requests to meet and confer regarding the prioritization of hyperlink

                                   3   production for depositions set within the next thirty days.

                                   4            Meta argues that: (1) Plaintiffs did not give them any notice that they would be raising this

                                   5   issue at the DMC; (2) Meta has been processing a tremendous volume of hyperlink requests since

                                   6   the last DMC (pursuant to the Court’s previous directives on this issue), they are devoting huge

                                   7   amounts of manpower to processing them, they have in fact produced a large number of the

                                   8   hyperlinked documents at issue for the depositions, and they are doing the best they can to

                                   9   produce documents as quickly as possible; (3) many of Plaintiffs’ hyperlink requests have been for

                                  10   documents already produced by Meta which Plaintiffs can easily find themselves; and (4) Meta

                                  11   has been adequately met and conferred with Plaintiffs on this issue.

                                  12            The Court ORDERS Meta to continue to prioritize hyperlink requests for pending
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                                  13   depositions set within the next thirty days. Meta shall promptly produce the hyperlinked

                                  14   documents, or, where such documents have already been produced, Meta shall promptly identify

                                  15   the documents by Bates number. Plaintiffs are directed to redouble their efforts to identify within

                                  16   the produced documents they have received any documents which correspond to the hyperlinked

                                  17   documents they seek, so as to minimize the number of hyperlink requests. The Parties shall

                                  18   continue to meet and confer on this issue to achieve a mutually agreeable resolution of any

                                  19   remaining disputes. The Court encourages the Parties to work out an agreement to cooperatively

                                  20   process informal requests made by Plaintiffs to Meta to confirm whether documents Plaintiffs

                                  21   found within the already-produced documents correspond to specific hyperlinks and whether any

                                  22   or all of such requests would not count against Plaintiffs’ weekly cap on hyperlink requests.

                                  23            The Court incorporates by reference its guidance on objections that may be raised during

                                  24   depositions, consistent with the Federal Rules of Civil Procedure. The Court assumes that smart

                                  25   lawyers will not waste time arguing or objecting over the authenticity of documents produced out

                                  26   of a company’s files.

                                  27      II.      SD Bellwether Plaintiffs’ Damages Computations

                                  28            Defendants ask the Court to order Plaintiffs to identify by Bates number the documents
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                                   1   that support their Rule 26(a)(1)(iii) damages computations. [Dkt. 1230 at 18-21].

                                   2           Plaintiffs argue that this dispute is unripe, and even if it were ripe, Rule 26 does not require

                                   3   identification of damages documents by Bates number, only that the documents be produced in

                                   4   accordance with the requirements of Rule 34 (which also does not require identification by Bates

                                   5   number). Id. at 21-23.

                                   6           The Parties confirm that the SD Bellwether Plaintiffs have provided lump sum damages

                                   7   computations under Rule 26. The SD Bellwether Plaintiffs have committed to provide updated

                                   8   damages disclosures which go beyond just a lump sum number by no later than November 15,

                                   9   2024.

                                  10           The SD Bellwether Plaintiffs state that the documents supporting their damages

                                  11   computations have either already been produced or will be produced soon. They argue that they

                                  12   should not be required to specifically identify the documents by Bates number because Rule 34
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                                  13   does not require identification by Bates number. Characterizing their damages computations as

                                  14   “very early preliminary estimates,” the SD Bellwether Plaintiffs also argue that there is “no need”

                                  15   to specifically identify the documents supporting the calculations, because they might not even

                                  16   end up relying on those documents to support their damages claims at trial.

                                  17           The Court finds that, while Rule 34 does not require identification of documents by Bates

                                  18   number, it also does not prohibit requiring such identification. See, e.g., Graham v. State Farm

                                  19   Auto. Ins. Co., No. 19-cv-00920-REB-NYW, 2021 WL 2092813, at *1 (D. Colo. Mar. 31, 2021);

                                  20   Kline v. Mortg. Elec. Sec. Sys., No. 3:08-cv-408, 2015 WL 13048741, at *19 (S.D. Ohio Sept. 25,

                                  21   2015). Rule 26’s disclosure requirements are intended to afford Defendants the ability to

                                  22   understand and assess what their potential exposure is and on what grounds. See Huawei Techs.

                                  23   Co. v. Samsung Elecs. Co., No. 3:16-cv-02787-WHO, 2019 WL 655279, at *2 (N.D. Cal. Feb. 17,

                                  24   2019) (“Rule 26(a) requires a party to provide information about the damages it seeks . . . so that

                                  25   the other side can ‘understand the contours of its potential exposure and make informed decisions

                                  26   as to settlement and discovery.’”). The disclosure is intended to help promote the prospect of

                                  27   settlement, among other goals. This is why other courts, such as Graham and Kline, have required

                                  28   plaintiffs to identify by Bates number the damages documents relied upon for Rule 26 disclosures,
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                                   1   especially where ferreting out those documents from a much larger universe of produced

                                   2   documents can be viewed as hiding or burying the information (and frustrating the goals of

                                   3   disclosure under the Federal Rules).

                                   4             Accordingly, the Court ORDERS the SD Bellwether Plaintiffs to identify by Bates

                                   5   number the documents supporting their damages computations in their Rule 26 damages

                                   6   disclosures and provide this information to Defendants, as part of their supplemental disclosure

                                   7   due November 15, 2024. If and when Plaintiffs serve further supplemental Rule 26 damages

                                   8   disclosures as this case proceeds, they shall also contemporaneously identify (and produce, if not

                                   9   previously produced) by Bates number the documents or other materials on which each damages

                                  10   computation is based. See Fed. R. Civ. P. 26(a)(1)(A)(iii), (e)(1)(A)-(B).

                                  11      III.      JCCP Relevant Time Period as to Meta

                                  12             At the August DMC, the Court ordered the JCCP Plaintiffs and Meta “to meet and confer
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                                  13   for purposes of determining: (1) two or three sample search terms for the pre-2012 period that the

                                  14   Parties agree will adequately address the JCCP Plaintiffs’ concern about capturing documents

                                  15   which discuss or evidence the alleged harms and/or risks of harm balanced within the general

                                  16   framework of features (to avoid overbreadth and disproportionality); and (2) two custodians for

                                  17   running searches of the sample terms.” [Dkt. 1070 at 10].

                                  18             The JCCP Plaintiffs complain that Meta unilaterally picked two custodians (without

                                  19   reaching agreement at a meet and confer as to the custodians) and then ran hit reports for those

                                  20   two individuals dating back only to 2006 (rather than date of hire). [Dkt. 1230 at 25-27]. The

                                  21   JCCP Plaintiffs instead requested Meta to run hit reports (from date of hire) on the JCCP

                                  22   Plaintiffs’ two proposed custodians—Mark Zuckerberg and “C.C.” At the October 24th DMC, the

                                  23   JCCP Plaintiffs limited their request to just Mr. Zuckerberg.

                                  24             Meta argues that, because the JCCP Plaintiffs waited almost a month before contacting

                                  25   them regarding the proposed custodians, Meta went ahead and chose the custodians to run sample

                                  26   hit reports because they were concerned about the discovery deadlines. Id. at 28-29. Meta argues

                                  27   that Mark Zuckerberg is “the least representative” of the twelve or so custodians employed by

                                  28   Facebook prior to 2012. Further, Meta argues that the JCCP Plaintiffs have not shown entitlement
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                                   1   to pre-2006 documents and that the Court has already ruled on relevant time frames for discovery.

                                   2            The Court ORDERS Meta to promptly run the three agreed upon sample search terms for

                                   3   the pre-2012 period across the custodial files of Mark Zuckerberg dating back to January 1,

                                   4   2006. The Parties are directed to meet and confer for purposes of determining how quickly Meta

                                   5   can produce this information, whether they can agree on a narrowed set of pre-2012 custodians,

                                   6   and whether they can agree on a narrowed set of targeted search terms for the 2006 to 2012

                                   7   documents, keeping in mind the Court’s directives at the DMC that these are the kinds of disputes

                                   8   that experienced counsel are expected to work out between themselves using a prompt, iterative

                                   9   process of regularly scheduled meet and confers.

                                  10      IV.      Snap’s Response to Interrogatory No. 1

                                  11            The Parties report a dispute as to the adequacy of Snap’s response to Plaintiffs’

                                  12   Interrogatory No. 1 (“ROG 1”) which seeks information regarding Snap’s preservation of
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                                  13   employee communications via Hip Chat, an instant messaging services used by Snap employees

                                  14   for internal communications up until late 2018. [Dkt. 1230 at 31].

                                  15            ROG 1, which was served on July 2, 2024, asks Snap to disclose, among other things,

                                  16   whether Snap has produced Hip Chat data in other litigations. Id. Snap did not provide this

                                  17   information as part of its August 15, 2024 response to the discovery request. Id.

                                  18            Plaintiffs argue that they have identified at least one other litigation in which Hip Chat data

                                  19   was likely produced. Id. They complain that Snap has yet to confirm whether Hip Chat data was

                                  20   actually produced in that case (or in any other cases). Id. at 31-32. Plaintiffs argue that this

                                  21   information is critically important to locate relevant Hip Chat data (if any exists in the files of such

                                  22   prior counsel or their ESI vendors), particularly given that Snap has represented that it is unable to

                                  23   decrypt the only identified collection of Hip Chat data stored on a USB drive.

                                  24            Snap argues that it has been communicating with its outside litigation counsel to confirm

                                  25   whether Hip Chat data was produced in previous litigations, and if so, where the data might be

                                  26   found. Snap argues that this has been a laborious process because their outside counsel recently

                                  27   moved offices.

                                  28            The Court ORDERS the Parties to continue to meet and confer regarding this dispute. As
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                                   1   part of that conferral, Snap shall provide Plaintiffs with weekly updates regarding the status of

                                   2   their investigation into the production of Hip Chat data in other litigations. The Court expects the

                                   3   Parties to have made significant progress on this issue by the next DMC. The Court notes that

                                   4   counsel for Snap has had months to investigate this issue. The Court expects Snap to work

                                   5   diligently to complete its investigation, find out the facts, and communicate them in a transparent

                                   6   manner to Plaintiffs’ counsel promptly.

                                   7      V.       YouTube’s Responses to RFP Nos. 16 and 18

                                   8            The PI/SD Plaintiffs raise a dispute as to the adequacy of YouTube’s amended responses

                                   9   to Plaintiffs’ Request for Production (“RFP”) Nos. 16 and 18, served on July 3, 2024. [Dkt.

                                  10   1197].

                                  11            RFP No. 16

                                  12            RFP No. 16 seeks documents sufficient to show “all features, classifiers, data sets,
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                                  13   dimensions, and/or demographics that [YouTube] use[s] to categorize users of, or accounts on,

                                  14   [the YouTube] Platform.” [Dkt. 1198-3 at 11].

                                  15            Plaintiffs argue that the request is relevant to their claims that YouTube harvests user data

                                  16   that is then used to classify and micro-target users for a variety of purposes, including user

                                  17   research, product promotion and growth, and advertising. [Dkt. 1197 at 8]. Plaintiffs propose

                                  18   limiting the request to three “discrete” areas—user research, advertising, and growth teams. Id.

                                  19   Plaintiffs confirm that the three categories are mere descriptors of functional units within

                                  20   YouTube and do not correspond to actual teams, groupings, or department names used by

                                  21   YouTube. Plaintiffs suggest that the categories may implicate “five or so teams.”

                                  22            YouTube argues that: (1) the three categories proposed by Plaintiffs are inherently vague,

                                  23   as they are not terms used within the company itself; (2) the request is overly broad and

                                  24   disproportionate because Plaintiffs’ claims relate only to the targeting of minors and information

                                  25   regarding the other ways in which YouTube categorizes users (e.g., “intellectuals” or “information

                                  26   seekers”) is irrelevant; (3) the three categories potentially implicate numerous teams, including “a

                                  27   whole sector of the business that deals with advertising;” and (4) YouTube has already produced

                                  28   thousands of documents relating to user categorization and Plaintiffs have not shown why they
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                                   1   need more.

                                   2            Plaintiffs argue that: (1) Plaintiffs’ claims that YouTube targets minors relate not just to

                                   3   how YouTube uses specific user data to target specific minors, but also to how YouTube generally

                                   4   collects user data and categorizes users to ensure that each user is maximally engaged by giving

                                   5   recommendations based on those categories; (2) the request is limited to documents “sufficient to

                                   6   show” user categorizations; and (3) YouTube likely has “explanatory documents or schema”

                                   7   related to user categorization which YouTube can easily locate and produce from its databases.

                                   8            RFP No. 18

                                   9            RFP No. 18 seeks all documents that “constitute, identify, describe, or discuss any analysis

                                  10   of the demographics of users of [the YouTube] Platform[.]” [Dkt. 1198-3 at 18].

                                  11            The Parties dispute whether YouTube should be required to produce responsive documents

                                  12   relating to analysis of users’ race and/or ethnicity. [Dkt. 1197 at 9, 12]. YouTube argues that
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                                  13   such information is irrelevant because Plaintiffs do not allege that YouTube targets users based on

                                  14   race or ethnicity. Id. at 12. The PI Plaintiffs argue that information regarding users’ race and

                                  15   ethnicity is relevant as part of their general claims regarding how YouTube collects and uses user

                                  16   data to target users and increase engagement with the platform. The SD Plaintiffs argue that

                                  17   information regarding users’ race and ethnicity is relevant to their allegations that youths of certain

                                  18   races and ethnicities have been disproportionately impacted at school and resulting damages to

                                  19   those school districts.

                                  20            At the October 24th DMC, the Court ORDERED YouTube and Plaintiffs to submit a

                                  21   proposed order to memorialize the Court’s verbal rulings on these disputes at the DMC. That

                                  22   proposed order was filed on October 30, 2024. [Dkt. 1293]. Per that filing, the Court entered the

                                  23   separate Order resolving these disputes on October 31, 2024, incorporated herein by reference.

                                  24   [Dkt. 1294].

                                  25            This RESOLVES Dkt. 1197.

                                  26      VI.       Preservation of MDL/JCCP Non-Bellwether PI Plaintiffs’ Main Devices

                                  27            Defendants demand that the MDL/JCCP Non-Bellwether PI Plaintiffs identify when they

                                  28   received litigation notices, explain the steps their counsel took to ensure ESI preservation from
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                                   1   those Non-Bellwether Plaintiffs’ main devices, and require forensic imaging of all of those devices

                                   2   to preserve the temporary log files and data on those devices. [Dkt. 1237]. Defendants argue that

                                   3   the Non-Bellwethers PI Plaintiffs have critical information on their devices relevant to

                                   4   Defendants’ defenses that needs to be preserved. They raise concerns regarding the destruction of

                                   5   this evidence through the passage of time (e.g., “ephemeral data” that is overwritten every thirty to

                                   6   sixty days in certain log files), particularly given the number of Bellwether cases where main

                                   7   devices have been lost or destroyed.

                                   8          Plaintiffs argue that: (1) they are “well aware” of their duty to preserve relevant

                                   9   information, this has been communicated directly by counsel to their clients, and the individual

                                  10   non-Bellwether Plaintiffs are each specifically aware of their obligation to preserve devices; (2)

                                  11   requiring forensic imaging of Non-Bellwether devices would upend the structure of this highly

                                  12   complex litigation, cost an unduly burdensome and nonproportional amount, and have a chilling
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                                  13   effect on future plaintiffs bringing their claims; (3) the JCCP Plaintiffs would be

                                  14   disproportionately impacted given that there are more than 1,700 personal injury cases in the

                                  15   JCCP; and (4) Defendants concerns regarding spoliation are either unfounded or not proportional

                                  16   because other forms of user data for apps are stored on the servers for those app companies (like

                                  17   the Defendants) and the short-term log file data that is on the devices is nonproportional and

                                  18   duplicative of (or at least sufficiently similar to) non-ephemeral data stored elsewhere.

                                  19          The Court DENIES Defendants’ request to compel the Non-Bellwether PI Plaintiffs to

                                  20   submit their devices for full forensic imaging at this time, because such imaging is

                                  21   disproportionate to the needs of the case.

                                  22          At the October 24th DMC, the Court ORDERED Defendants and Plaintiffs to submit a

                                  23   proposed order to memorialize the Court’s verbal rulings on these disputes at the DMC. That

                                  24   proposed order was filed on October 28, 2024. [Dkt. 1286]. Per that filing, the Court entered the

                                  25   separate Order resolving these disputes on October 29, 2024, incorporated herein by reference.

                                  26   [Dkt. 1288].

                                  27          This RESOLVES Dkt. 1237.

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                                   1      VII.      States’ Production of Documents

                                   2          The Parties report a dispute related to negotiations over Meta’s document requests directed

                                   3   at the thirty-four States in this MDL. [Dkt. 1217].

                                   4          Search Terms and Custodians

                                   5          Meta has been meeting and conferring productively with twenty of the thirty-four States

                                   6   regarding proposed search terms and custodians. Meta has received proposed custodians and

                                   7   terms from three of those twenty States. Meta complains that fourteen “holdout” States (Arizona,

                                   8   California, Colorado, Delaware, Illinois, Kentucky, Maryland, Michigan, Minnesota, Missouri,

                                   9   New York, Oregon, Pennsylvania, and Rhode Island) either refuse to provide proposed search

                                  10   terms and custodians or have not responded to Meta’s conferral attempts. Four of these “holdout”

                                  11   states (California, Colorado, Michigan, and Pennsylvania) have represented to Meta that they

                                  12   cannot engage in any meet and confer regarding search terms and custodians at all because their
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                                  13   agencies refuse to provide documents as party discovery. Those agencies have taken the position

                                  14   that this Court’s September 6, 2024 Order [Dkt. 1117] does not apply to them, that they disagree

                                  15   with that Order and thus refuse to obey it, and that this Court lacks jurisdiction over them.

                                  16          The Parties report that Meta has also informed the state agencies that any subpoenas

                                  17   previously served by Meta on any agencies should be held in abeyance. At least one State AG

                                  18   reported that some of the agencies of that state had already collected documents and was preparing

                                  19   them for production but stopped that process in response to Meta’s announcement to hold the

                                  20   subpoenas in abeyance.

                                  21          The State AGs argue that the Court should reject Meta’s “one-size-fits-all” demand for

                                  22   custodians and search terms across 270-plus states agencies. They argue that the issue is not ripe

                                  23   as to some of the fourteen States who have not given a “final answer” whether they will provide

                                  24   proposed custodians and search terms; that search terms should be negotiated on an agency by

                                  25   agency basis; and that Meta should meet and confer with them regarding whether documents

                                  26   sought have already been requested (or in some instances, produced) pursuant to Rule 45

                                  27   subpoenas.

                                  28          The Court ORDERS the twenty States that have already been engaging with Meta
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                                   1   regarding search terms and custodians to continue meeting and conferring with Meta on those

                                   2   issues. The Court ORDERS counsel for the fourteen so-called “holdout” States (Arizona,

                                   3   California, Colorado, Delaware, Illinois, Kentucky, Maryland, Michigan, Minnesota, Missouri,

                                   4   New York, Oregon, Pennsylvania, and Rhode Island) to promptly meet and confer with Meta

                                   5   regarding proposed search terms and custodians. Counsel for those fourteen States SHALL

                                   6   identify custodians and propose search terms by November 1, 2024. The Parties shall engage in

                                   7   meet and confers during the week of November 4, 2024 regarding search terms and custodians. If

                                   8   counsel for an agency needs to be involved in a meet and confer in order for the discussion to be

                                   9   productive and efficient, then such counsel SHALL also participate in the meet and confers and

                                  10   SHALL coordinate with the respective State AG for that state in scheduling and participation

                                  11   collaboratively in such meet and confers. All counsel (for Meta, the States, and the agencies) shall

                                  12   cooperate and coordinate scheduling of and participation in meet and confers so as to have all
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                                  13   Parties present at one time, instead of requiring Meta to schedule and conduct hundreds of separate

                                  14   meet and confers across all of the agencies. To the extent possible, the State AG and any agency

                                  15   counsel shall appoint a lead negotiator for their side, to expedite negotiations.

                                  16          Litigation Holds

                                  17          Meta complains that eight States (Arizona, California, Colorado, Missouri, New York,

                                  18   Oregon, Pennsylvania, and Rhode Island) have refused to provide litigation hold information for

                                  19   state agency personnel.

                                  20          The State AGs argue that this is not a ripe issue, the States have not disputed their

                                  21   obligations to provide litigation hold information, they have begun productions, and they will

                                  22   continue to make rolling productions as quickly as possible.

                                  23          The Court ORDERS the States to provide Meta with weekly updates regarding the status

                                  24   of their production of litigation hold information and shall disclose to Meta whether any specific

                                  25   agencies are refusing to produce the information. The Court expects counsel will work diligently

                                  26   and be prepared to provide a report on substantive progress on this issue at the November DMC.

                                  27          At the October 24th DMC, the Court ORDERED the State AGs and Meta to submit a

                                  28   proposed order to memorialize the Court’s verbal rulings on these disputes at the DMC. That
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                                   1   proposed order was filed on October 28, 2024. [Dkt. 1285]. Per that filing, the Court entered the

                                   2   separate Order resolving these disputes on October 29, 2024, incorporated herein by reference.

                                   3   [Dkt. 1291].

                                   4          This RESOLVES Dkt. 1217.

                                   5          Discovery Planning for State AGs and State Agencies

                                   6          Judge Gonzalez Rogers’s Order regarding state agency discovery, dated October 30, 2024,

                                   7   is clear on its face. [Dkt. 1292]. Meta, the State AGs, and the agencies SHALL meet and confer

                                   8   and work promptly to resolve any disputes over the scope of documents sought and to be

                                   9   produced, and to process documents for production on a rolling basis as diligently as possible. In

                                  10   light of Judge Gonzalez Rogers’s directives that time is of the essence and efficient resolution is

                                  11   paramount, the Court further ORDERS as follows:

                                  12          In connection with the November DMC, the Parties (including all agencies) shall not
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                                  13   merely report in the DMC Statement and verbally on the status of their discussions over objections

                                  14   and production of documents. The Parties SHALL also present this Court with their Joint Plan to

                                  15   start rolling productions by the end of November 2024 and complete substantial production of

                                  16   documents from the agencies and the State AGs by the end of December 2024. The Court expects

                                  17   the Parties to engage in robust and transparent discussions to reach compromises and

                                  18   understanding over the scope of documents sought, the identification of custodians, the use of “go

                                  19   get ‘em” requests (where appropriate), and the diligent processing of documents for production.

                                  20   The Parties are ORDERED to meet and confer on this Joint Plan for States’ document

                                  21   productions, report on the plan in the November DMC Statement, and be prepared to discuss the

                                  22   plan at the November DMC.

                                  23          In connection with the November DMC, the Parties SHALL also present the Court with a

                                  24   Joint Plan to schedule and conduct any depositions of state agencies (or individual employees

                                  25   thereof) within the planned schedule for all other depositions in this case. The Parties SHALL

                                  26   propose a Joint Plan for a schedule to begin identifying potential state agencies’ witnesses, serve

                                  27   Rule 30(b)(6) notices, resolve any disputes over depositions, and secure witnesses’ availability

                                  28   sufficiently in advance so that any such depositions can be completed in an orderly and efficient
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                                   1   fashion before the fact discovery cutoff. The Parties are ORDERED to meet and confer to

                                   2   discuss and develop these Joint Plans, report on them in the November DMC Statement, and be

                                   3   prepared to discuss them at the November DMC.

                                   4   IT IS SO ORDERED.

                                   5   Dated: November 1, 2024

                                   6                                                ______________________________________
                                                                                    PETER H. KANG
                                   7                                                United States Magistrate Judge
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